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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 (ORLANDO DIVISION)

STACEY SHORE                        )
                                    )
            Plaintiff,              )               Civil Action No. 6:18-cv-1893-ORL-28-DCI
                                    )
v.                                  )
                                    )
GREENSPOON MARDER, P.A.,            )
                                    )
            Defendant.              )
___________________________________ )

              DEFENDANT GREENSPOON MARDER, LLP’S MOTION
         FOR SANCTIONS AND INCORPORATED MEMORANDUM OF LAW

       Defendant GREENSPOON MARDER, LLP (“GM”) (erroneously named as Greenspoon

Marder, P.A.), by and through undersigned counsel, hereby moves pursuant to Federal Rule of

Civil Procedure 11(b) and the Court’s inherent power, for entry of an order imposing sanctions

against Plaintiff and her attorneys in the form of (a) payment of a penalty into Court; (b)

payment to GM in the amount of the undersigned attorneys’ fees and expenses incurred as a

result of this action, including those incurred in connection with the instant Motion; and (c) any

other form of relief the Court deems appropriate.

                                PRELIMINARY STATEMENT

       This lawsuit is a frivolous attempt by Plaintiff and her attorney to concoct purported

violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 (“FDCPA”) and the

Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”) from the

perfectly valid and legal foreclosure of her two “floating week” units at a timeshare resort in

Kissimmee, Florida. GM was the trustee appointed by the timeshare developer to foreclose upon

the lien granted by the Plaintiff in connection with her mortgage.
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       Plaintiff does not dispute that she was in default on the mortgage (for over $12,000). She

now collaterally attacks the completed foreclosure and, indeed, the statutory non-judicial

timeshare foreclosure regime under the Florida Vacation Plan and Timesharing Act, Fla. Stat. ch.

721 (the “Timesharing Act”). Plaintiff argues that the “floating use” nature of her former

timeshares means that, lo and behold, they were personal property that could not have been

foreclosed upon. Plaintiff makes this assertion even though her timeshares were deeded to her as

fee simple undivided tenant in common interests in real property, she paid real property taxes on

them, and in that very same deed she granted a lien that could be foreclosed upon if she defaulted

on her mortgage. Plaintiff also disregards that the “floating use” is “almost always used” for

timeshares sold as undivided tenant in common interests like hers were sold to her, a fact made

known to her and her attorney in GM’s first Motion to Dismiss. The “personal property” theory

is entirely lacking in any support, and is barred by estoppel or otherwise by, among numerous

items, Plaintiff’s deed, the timeshare resort’s declaration, and Florida’s Timesharing Act.

       The only asserted bases for this theory are intentional misreadings of the Timesharing

Act and a website post by the Federal Trade Commission that the Complaint purposely

mischaracterizes as a federal “regulation,” “pursuant to” which “Plaintiff’s Floating Use Plan

interest is ‘legally considered personal property.’” See Am. Compl. at ¶ 71 (attached hereto as

Exhibit A). An attorney should be expected to understand that language in the Timesharing Act

defining a “personal property timeshare interest” to apply only to an accommodation that is “not

permanently affixed to real property” cannot possibly apply to Plaintiff’s former timeshare

interests at a resort in Kissimmee, Florida. An attorney should also know that a website posting

by the FTC is not a federal agency regulation and, further, it is completely irrelevant to

determining the nature of a property interest, which is established by state law. Florida state law



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here is clear that Plaintiff’s former deed timeshare interests are real property.         Thus, the

“personal property” claim is a frivolous claim that no reasonable attorney would have asserted.

       Plaintiff amps up the frivolousness of her claims when she addresses the Timesharing

Act’s nonjudicial trustee foreclosure process. As Plaintiff’s attorney should have known, and in

any event, as GM stated in its first Motion to Dismiss, none of its conduct in the foreclosure can

furnish the basis for an FDCPA or FCCPA violation. It is well settled that enforcement of a

security interest, without any demand for payment, is not debt collection activity and therefore

generally is not subject to the FDCPA or FCCPA. There is no conflict or disharmony. Plaintiff

pays this no heed, and instead advances the baseless notion that GM’s notice to Plaintiff and the

publication of the full (accelerated) balance and her right to cure – both of which were required

by the Timesharing Act – subject it to liability on the view that the FDCPA preempts the

Timesharing Act. To come up with a damages claim, Plaintiff argues the trustee foreclosure

process that the Florida legislature enacted is trumped by the FDCPA, and compliance with the

former is a violation of the latter. This is absurd and runs afoul of Eleventh Circuit case law.

       Plaintiff’s asserted FDCPA and FCCPA claims are frivolous and legally and factually

baseless. GM and its attorneys should never have had to lose time or money responding to these

absurd and unreasonable assertions. Plaintiff’s claims are so untethered to any valid basis in law

or fact, they are not only baseless, but also frivolous and merit the imposition of sanctions. It

was manifestly unreasonable for Plaintiff and her attorney to have re-filed and added to such

frivolous claims, and the Court should therefore direct a penalty be paid into Court and impose

sanctions in the amount of GM’s attorneys’ fees and expenses incurred responding to these

claims and in connection with this Motion. Accord Fed. R. Civ. P. 11(c)(4).




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                                         ARGUMENT

I.     THE COURT’S AUTHORITY UNDER BOTH RULE 11 AND THE COURT’S
       INHERENT POWER TO IMPOSE SANCTIONS

       Federal Rule of Civil Procedure 11 provides a remedy in the form of sanctions against

parties and attorneys who engage in frivolous litigation and assert baseless claims. Rule 11

provides, in relevant part:


       (b) By presenting to the court (whether by signing, filing, submitting, or later
       advocating) a pleading, written motion, or other paper, an attorney or
       unrepresented party is certifying that to the best of the person's knowledge,
       information, and belief, formed after an inquiry reasonable under the
       circumstances,

       (1)    it is not being presented for any improper purpose, such as to harass or to
       cause unnecessary delay or needless increase in the cost of litigation;

       (2)    the claims, defenses, and other legal contentions therein are warranted
       by existing law or by nonfrivolous argument for the extension, modification, or
       reversal of existing law or the establishment of new law; [and]

       (3)     the allegations and other factual contentions have evidentiary support
       or, if specifically so identified, are likely to have evidentiary support after a
       reasonable opportunity for further investigation or discovery. . . .

Fed. R. Civ. P. 11 (emphases added).

       The purpose of Rule 11 is to “discourage dilatory or abusive tactics and to help

streamline the litigation process by lessening frivolous claims or defenses.” Donaldson v. Clark,

819 F.2d 1551, 1556 (11th Cir. 1987). Pursuant to Rule 11, when filing a pleading in federal

court, an attorney certifies that he or she has conducted a reasonable inquiry and that the

pleading is well-grounded in fact, legally tenable, and is not presented for any improper purpose.

A signor can “no longer rely solely on his personal interpretation of the facts, conclusory

allegations of fact, speculation, suspicion, rumor or surmise to sustain a reasonable belief.”

Gutierrez v. City of Hialeah, 729 F. Supp. 1329 (S.D. Fla. 1990).


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       Thus, when an attorney files a pleading that has no reasonable chance of success or files a

pleading in bad faith for an improper purpose, Rule 11 sanctions should be imposed. Didie v.

Howes, 988 F.2d 1097, 1104 (11th Cir. 1993). See also Carlson v. Bosem, 04-61004-CIV, 2007

WL 1496693 (S.D. Fla. Apr. 9, 2007), aff'd, 298 F. App'x 861 (11th Cir. 2008) (courts may

impose sanctions under Rule 11 for bad faith conduct which is intentional or reckless). “The

sanction should be imposed on the persons—whether attorneys, law firms, or parties—who have

violated the rule or who may be determined to be responsible for the violations.” Fed. R. Civ. P.

11 Advisory Committee Note to 1993 Amendments. In this connection, the Federal Rules

specifically provide that where a party is represented by counsel, only the attorney can be

sanctioned for asserting legally frivolous claims, contentions, or other legal contentions. See

Fed. R. Civ. P. 11(c)(5)(A).

       “The standard for testing conduct under . . . Rule 11 is ‘reasonableness under the

circumstances.’”   United States v. Milam, 855 F.2d 739, 743 (11th Cir. 1988) (quoting

Donaldson, 819 F.2d at 1556). A district court has the discretion to award Rule 11 sanctions:

       (1) when a party files a pleading that has no reasonable factual basis; (2) when the
       party files a pleading that is based on a legal theory that has no reasonable chance
       of success and that cannot be advanced as a reasonable argument to change
       existing law; or (3) when the party files a pleading in bad faith for an improper
       purpose.

Massengale v. Ray, 267 F.3d 1298, 1301 (11th Cir. 2001) (quoting Worldwide Primates, Inc. v.

McGreal, 87 F.3d 1252, 1254 (11th Cir. 1996)).

       The Eleventh Circuit requires a two-step inquiry: (1) whether the party’s claims are

objectively frivolous; and (2) whether the person who signed the pleadings should have been

aware that they were frivolous. Baker v. Alderman, 158 F.3d 516, 524 (11th Cir. 1998). A claim

is frivolous when the party or attorney should have been aware that the claim had no basis in law



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or fact if he or she had made a reasonable inquiry. Worldwide Primates, 87 F.3d at 1254. The

standard is an objective one – courts must determine whether a reasonable attorney in like

circumstances could believe his or her actions were factually and legally justified. Kaplan v.

Daimler Chrysler, A.G., 331 F.3d 1251, 1255 (11th Cir. 2003).

        With regard to the form of sanctions, it “may include nonmonetary directives; an order to

pay a penalty into court; or, if imposed on motion and warranted for effective deterrence, an

order directing payment to the movant of part or all of the reasonable attorney's fees and other

expenses directly resulting from the violation.” Fed. R. Civ. P. 11(c)(4).1 “Since the purpose of

Rule 11 sanctions is to deter rather than to compensate, the rule provides that, if a monetary

sanction is imposed, it should ordinarily be paid into court as a penalty.” Id. The Advisory

Committee Notes caution, however, that “deterrence may be ineffective unless the sanction not

only requires the person violating the rule to make a monetary payment, but also directs that

some or all of this payment be made to those injured by the violation.” Id.

        Additionally, Rule 11 is not the exclusive source of a court’s authority to sanction a party

for its bad faith conduct. “[A]lthough certain conduct may or may not be violative of Rule 11

. . . it does not necessarily mean that a party will escape sanctions under the court’s inherent

power.” In re Mroz, 65 F.3d 1567, 2575 (11th Cir. 1995). See also Maale v. Kirchgessner, 08-

80131-CIV, 2011 WL 1458258 (S.D. Fla. Mar. 3, 2011), report and recommendation adopted,

08-80131-CIV, 2011 WL 1458147 (S.D. Fla. Apr. 15, 2011). Sanctions under the court’s

inherent power are particularly appropriate “when a party has acted in bad faith, vexatiously,

wantonly, or for oppressive reasons.” Chambers v. NASCO, Inc., 501 U.S. 32, 45–46 (1991).


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  Non-monetary sanctions include “striking the offending paper; issuing an admonition, reprimand, or
censure; requiring participation in seminars or other educational programs; . . . [and] referring the matter
to disciplinary authorities . . . .” Fed. R. Civ. P. 11 Advisory Committee Note to 1993 Amendments.


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II.    PLAINTIFF’S THEORY THAT HER FORMER DEEDED TIMESHARE
       INTERESTS ARE PERSONAL PROPERTY THAT CANNOT BE FORECLOSED
       UPON IS PATENTLY FRIVOLOUS AND MERITS SANCTIONS

       A.      Plaintiff is Barred from Contesting that Her Former Timeshare Interests Are
               Real Property under the Doctrine of Legal Estoppel

       Plaintiff’s deed is the first red flag that would have alerted any reasonable attorney that

he or she had no grounds for contending Plaintiff’s former timeshare interests are personal

property that could not have been foreclosed upon.          Plaintiff acknowledges that when she

purchased her timeshare interests, she received and executed a “WARRANTY DEED AND LIEN

ON REAL PROPERTY claiming to transfer property from Westgate to Plaintiff in Osceola

County, Florida.” Am. Compl. at ¶ 39. See also id., Ex. 5. Plaintiff admits that the deed reflects

that she “hereby expressly assumed and agrees to be bound by and to comply with all of the

covenants, terms, conditions and provisions set forth contained in the Declaration . . . .” Id. at ¶

40. Plaintiff, however, contends the deed “has no validity, value or ability to transfer anything to

the Plaintiff as real property,” (id. at ¶ 41), because, under the terms of the Declaration of

Covenants, Conditions and Restrictions for Westgate Town Center (the “Declaration”), her

timeshare interests were for a “floating use” timeshare period available on a “first come, first

served” reservation basis. Id. at ¶¶ 42-69. See also id., Ex. 6.

       Plaintiff’s deed, however, makes it plainly clear that she was conveyed, and accepted,

real property when she purchased her timeshare interest. First, the document is titled, “Warranty

Deed and Lien on Real Property.”             Id., Ex. 5 (emphasis added).          It further states,

“Notwithstanding anything contained herein to the contrary, this instrument shall be deemed one

instrument consisting of both a conveyance of real property and the granting and reservation of

a lien and security interest.” Id. (emphasis added). Plaintiff’s deed therefore unequivocally

states that she acquired an interest in real property. Under the doctrine of legal estoppel, Plaintiff


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is precluded from arguing otherwise. “Legal estoppel or estoppel by deed is defined as a bar

which precludes a party to a deed and his privies from asserting as against others and their

privies any right or title in derogation of the deed, or from denying the truth of any material fact

asserted therein.” Trustees of Internal Imp. Fund v. Lobean, 127 So. 2d 98, 102 (Fla. 1961). See

also Belcher Ctr. LLC v. Belcher Ctr., Inc., 883 So. 2d 338, 339 (Fla. 2d DCA 2004) (explaining

doctrine of estoppel by deed, “if applicable, would preclude [plaintiff] from asserting any right in

derogation of the deed or from denying the truth of any material fact asserted in the deed”).

       Plaintiff is also estopped from contending that the “floating use” nature of her timeshare

interests – which was made clear on the face of the Deed and her contract, (see Am. Compl.,

Exs. 3 & 5) – prevents them from being considered real property or that her timeshare interests

could not have been foreclosed upon. The Deed conveying her transfer of real property makes

express mention that the timeshare interests were both “Float Week[s] / Float Unit[s] according

to the Time Sharing Plan for Westgate Town Center, recorded in Official Records Book 1564, at

Page 1479, of the Public Records of Osceola County, Florida,” the citation for the Declaration.

Id., Exs. 5 & 6. The deed further states that Plaintiff granted and conveyed “a lien and security

interest in the Property in order to secure repayment of the Note,” and if she defaults on her

mortgage, “the lien against the [Plaintiff’s] Timeshare Interest created by this mortgage may be

foreclosed in accordance with either a judicial foreclosure procedure or a trustee foreclosure

procedure and may result in the loss of Borrower’s Timeshare Interest.” Id., Ex. 5.

       The Deed thus precludes Plaintiff from asserting every premise of her “personal

property” theory. Plaintiff acknowledged and accepted the very facts that she is now contesting

by her “personal property” FDCPA and FCCPA claims. Any reasonable attorney would have

known he has no basis to argue such a timeshare interest is personal property when the deed by



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which it was conveyed and accepted, and mortgaged, makes clear it is real property that could be

foreclosed upon. It is clear that Plaintiff and her attorney were aware of the Deed and its

contents, so there is no excuse for their assertion of claims that are contradicted by the Deed.

       B.      Both the Declaration and Florida Law Expressly Recognize that Plaintiff’s
               Former Timeshare Interests Are Interests in Real Property

       The Deed is only the first stumbling block that Plaintiff and her counsel unreasonably

disregarded. In addition to Plaintiff’s Deed, the Resort’s Declaration and Florida law also

establish, without a doubt, that Plaintiff’s former timeshare interests are real property, and not

personal property. The original Complaint failed to address the Timesharing Act at all. One

would expect any attorney thinking of challenging the legal nature of a timeshare interest would

have reviewed the governing statutory regime. GM’s initial Motion to Dismiss demonstrated

how the Timesharing Act regards Plaintiffs’ former timeshares to be “parcel[s] of real property.”

Accord Fla. Stat. § 721.05(34). Rather than withdraw the “personal property” theory after being

informed of that fact, Plaintiff and her attorney advance even more frivolous assertions in

attempting to place this theory within the terms of the Timesharing Act. Comparing this to

placing a square peg in a round hole would be an understatement.

       Plaintiff’s “personal property” claim focuses upon the “Floating Use Plan” aspect of the

Declaration to which her deeded conveyance was made subject. The Amended Complaint,

however, grossly mischaracterizes the Declaration, stating that it “is separated into two

‘ownership’ plans, A Time-Sharing Plan and a Floating Use Plan,” and “differentiates between a

deeded interest (Time Sharing Plan) and a Right to Use or Floating Interest (‘Floating Use

Plan).” Am. Compl. at ¶¶ 42 & 71. There is no such separation or distinction between a deeded,

real property timeshare interest and a supposed floating use, personal property timeshare interest

under the Declaration or Florida law. Plaintiff cannot premise her “personal property” theory on


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a clearly incorrect reading of the Declaration.

       The “Floating Use Plan” is a part of and, indeed, is the key component, of the Resort’s

“Time Sharing Plan.” The “Floating Use Plan” generally provides that “[n]otwithstanding the

specific Unit and Unit Week assigned to an Owner” in their deed, “all Floating Unit Weeks shall

be available for use by all Owners at all times on a ‘first come, first served’ reservation basis in

accordance with this Declaration and the Floating Use Plan Rules and Regulations . . . .” Id., Ex.

6 at Art. II(C)(2)(A)(a). “The purpose of the Floating Use Plan is to enable Floating Unit Weeks

Owners to take advantage of a greater selection of time periods in which to use and enjoy their

Floating Unit Weeks . . . .” Id. All but four weeks of the year (weeks 13, 14, 51, and 52) are

“Floating Unit Weeks,” and thus over 90% of the timeshare units at the Resort are “floating

week” units and are committed to the “Floating Use Plan.” See id. at Art. II(C)(2)(A)(b)(1). As

Plaintiff’s timeshares are in weeks 31 and 45, they are subject to the terms of the “Floating Use

Plan,” and that is why the Deed refers to them as “Float Weeks.” See id., Ex. 5.

       Plaintiff erroneously seeks to apply this attribute, which speaks to the procedure for the

use and occupancy of the timeshare, to the separate question of the form of ownership of the

timeshare interests at the Resort. The form of ownership is the exact same for the “fixed week”

or “floating week” units. Plaintiff claims that, unlike the Declaration’s “fixed week” units, in

which she concedes the purchaser “received an ownership interest in fee simple of a divided

interest in a building in the Resort Facility,” (id. at ¶ 43), “[i]n the ‘Floating Use Plan,’ . . . the

‘Owner’ receives no property rights or interest . . . .” Id. at ¶ 45. There is no basis in law or any

fact for this contention. The Declaration makes clear that each owner – whether an owner of the

90-plus percent of the timeshares that are “floating use” units (48 out of 52 weeks) or of the

relatively few “fixed week” units – is “convey[ed] . . . by Warranty Deed the ownership in fee



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simple of an undivided interest in a building in the Resort Facility as a tenant in common with

other Owners which interest shall constitute said Owner’s Time Share Interest.” Id., Ex. 6 at Art.

II(C)(1). The Declaration further provides that “[a] Unit Week is committed to the Floating Use

Plan” only “upon the conveyance of the Unit Week as evidenced by the recording of a deed in

the Public Records of Osceola County, Florida indicating that the Developer is conveying that

Unit Week to the purchaser as a Floating Unit Week.” Id. at Art. II(C)(2)(A)(b). The assertion

that the Declaration differentiates or separates the “fixed use” and “floating use” units by form of

ownership is therefore plainly spurious. Just as the Amended Complaint concedes a “fixed

week” unit is real property, so too is a “floating week.” What differs is only the procedure for

use and occupancy of the real property interest.

       Plaintiff’s “personal property” theory is barred by Florida law as well. More specifically,

the Timesharing Act expressly recognizes Plaintiff’s “floating use” timeshares as an interest in

real property. The Timesharing Act provides for three basic forms of timeshare ownership, or

“timeshare interests”: a fee interest in real property known as a “timeshare estate;” a non-deeded

contractual right to use real property known as a “timeshare license;” and a “personal property

timeshare interest.” See Fla. Stat. § 721.05(36). A “floating” timeshare use plan is not a form of

ownership and in fact can be utilized in any of these forms of ownership.

       A “timeshare estate” is a “right to occupy a timeshare unit, coupled with a freehold estate

or an estate for years with a future interest in a timeshare property or a specified portion thereof,

or coupled with an ownership interest in a condominium unit pursuant to s. 718.103,” among

other forms of ownership. Fla. Stat. § 721.05(34). That is precisely what Plaintiff purchased.

See Am. Compl. at ¶¶ 39-40, Ex. 5. The same statutory definition further provides that “[a]

timeshare estate is a parcel of real property under the laws of this state.”            Fla. Stat. §



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721.05(34) (emphasis added).       Florida law is unequivocal on this point.        The Amended

Complaint, however, contends Plaintiff lacked the “right to occupy a timeshare unit” because she

released the right to occupy the deeded weeks into the Floating Use Plan’s reservation system.

See, e.g., Am. Compl. at ¶ 52. But she still had the right to occupy her two timeshare units

“pursuant to the Plan,” as stated in her Deed, (id., Ex. 5) – that is what made her, as an owner at

the Resort, eligible to make a reservation for a floating unit. Plaintiff does not dispute that the

Deed, Declaration, and purchase contract all made clear that her right to use was a “floating” use

without regard to the specific weeks and units identified on the Deed. The timesharing plan in

the Declaration did not change her real property into personal property.

       Consideration of the other types of timeshare interests under Florida law demonstrates

they do not apply to Plaintiff’s former timeshare interests. A “personal property timeshare

interest” – which is what Plaintiff contends she owned – is “a right to occupy an accommodation

located on or in or comprised of personal property that is not permanently affixed to real

property, whether or not coupled with a beneficial or ownership interest in the accommodations

or personal property.” Id. at § 721.05(28) (emphasis added). There is no dispute that Plaintiff’s

ownership interest in a timeshare parcel physically located at the Resort is “affixed to real

property,” as opposed to, for example, a vessel or a vehicle. See id. at § 721.05(1). Thus, as a

matter of Florida law, Plaintiff’s timeshare interest cannot be deemed personal property.

Plaintiff engages in linguistic sleights of hand by intoning that real property “does not Float” and

asserting that her “‘right to reserve a unit’” was not “attached to any piece of real property,” and

thus she was conveyed personal property. Am. Compl. at ¶¶ 37, 57, 60, 61. These are inane

statements completely disconnected from the governing statutory framework. It is indisputable

that the accommodations that Plaintiff had the right to use and occupy subject to the Floating Use



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Plan – two timeshare units at the Resort – were “permanently affixed to real property,” and

therefore Plaintiff could not possibly have had a personal property timeshare interest. Plaintiff’s

forced assertions to the contrary are frivolous and legally unsupported.2

          There is simply nothing disqualifying about the “floating” nature of Plaintiff’s right of

use of her timeshare interest that would remove it from being an interest in a “timeshare estate”

and therefore real property. Indeed, the same commentator about the Timesharing Act notes that

such an approach is “almost always used” for timeshares of the type that Plaintiff purchased, an

undivided tenant-in-common interest:

          A timeshare plan can also provide for a “floating time” arrangement in which the
          owner of a particular timeshare estate is not automatically entitled to use the
          accommodations of any specific unit during any particular period of the calendar.
          Instead, the purchaser of a floating timeshare estate is required to make a
          reservation in advance for the use of a particular unit for a particular period of
          time. In a floating plan, the restrictions and covenants of the timeshare
          instrument separate use rights from ownership rights. For example, under a
          floating plan, the owner of “Week 5 in Unit 101 of XYZ Condominium” would
          have no automatic right to occupy Unit 101 (or any other similar unit) during
          week five. Rather, the owner would be entitled to occupy an available unit
          (equivalent to Unit 101) during an available week only by making a reservation
          and using the rights set forth in the timeshare plan associated with owning “Week
          5 in Unit 101 of XYZ Condominium.” Floating time is the structure almost
          always used for a timeshare resort that defines the timeshare estates sold in
          terms of an undivided tenant-in-common interest.

Freedman, Florida Condominium and Community Association Law at § 6.2(C) (emphasis

added).


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  Nor, to the doubtful extent it is relevant, did Plaintiff have a “timeshare license.” That is “a right to
occupy a timeshare unit, which right is not a personal property timeshare interest or a timeshare estate.”
Id. at § 721.05(37). Plaintiff emphatically declares that her interest is in the nature of personal property.
See, e.g., Am. Compl. at ¶¶ 61, 62, 71, 73, 78. Also, as a commentator for a treatise published by the
Florida Bar observes, “[o]bviously, a timeshare license is not a fee interest . . . .” Robert S. Freedman,
The Florida Bar, Florida Condominium and Community Association Law § 6.2(B)(1) (2018 ed.). A fee
interest, with real property taxes, is exactly what Plaintiff purchased. The Declaration provides that all
timeshare interests were to be conveyed “in fee simple of an undivided interest in a building in the Resort
Facility as a tenant in common with other Owners . . . .” Am. Compl., Ex. 6 at Art. II(C)(1). See also id.,
Ex. 5.

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        The above quotation describes “to a tee” the property interest that Plaintiff purchased.

See Am. Compl, Ex. 6 at Art. II(C)(1) (“Developer shall convey to each Owner by Warranty

Deed the ownership in fee simple of an undivided interest in a building in the Resort Facility as a

tenant in common with other Owners which interest shall constitute said owner’s Time Share

Interest.”).   Thus, what Plaintiff and/or her attorney contended was improper and resulted only

in personal property is the form of use “almost always used” in timeshare estates sold in the

manner that Plaintiff purchased. This is the equivalent of Plaintiff asserting a lawsuit premised

on two plus two equaling five. No reasonable attorney would have done that, just as no

reasonable attorney would have filed a lawsuit contending a “floating” use deeded timeshare that

his client owns in an undivided tenant-in-common fee simple interest – the timeshare plan

“almost always used” in such transfers – is personal property rather than real property that

cannot be foreclosed upon through a statutory trustee foreclosure procedure.

        C.      Plaintiff’s Reliance Upon FTC Website Guidance is Baseless

        Plaintiff also bases her “personal property” theory on purported “regulations” from the

Federal Trade Commission. No reasonable attorney would have based any claim about the

nature of a property interest on this “authority.” It is barely an “authority” at all. It is nothing

more than a discussion on an FTC consumer-facing website stating the certain “right to use”

vacation interval options are “legally considered personal property.” Am. Compl. at ¶¶ 30, 70-

71. See also id., Ex. 4 (available at https://www.consumer.ftc.gov/articles/0073-timeshares-and-

vacation-plans). This has no force and effect of law. But Plaintiff and her attorney engage in a

deliberate misreading of the FTC’s website, and falsely describe its nature, in a desperate effort

to find anything they can use to prop up their frivolous “personal property” argument.

        Plaintiff asserts once again that the consumer guidance on the FTC’s website about



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purchasing homes and other real property constitutes federal “regulations.” Am. Compl. at ¶ 71.

See also Dkt. No. 1 at ¶¶ 35 & 37. This is a blatant falsehood that no reasonable attorney would

have asserted, let alone repeated. A blurb on a website, even that of a federal government

agency, is not a regulation. There is simply no indication that the website is the result of an

agency’s rulemaking power – i.e., a regulation – and certainly not one that complies with the

requirements of the Administrative Procedure Act, 5 U.S.C. §§ 701 et seq., needed to have the

effect and force of the law. Accord Chrysler Corp. v. Brown, 441 U.S. 281, 313 (1979)

(“Certainly regulations subject to the APA cannot be afforded the ‘force and effect of law’ if not

promulgated pursuant to the statutory procedural minimum found in that Act.”).                Not

surprisingly, it does not appear that any court or agency has ever considered the language in the

website in reaching any decision, further rendering Plaintiff’s reliance upon it frivolous.

       Plaintiff also contends that the Court should follow the FTC website guidance “[i]n due

consideration that the FCCPA gives to the FTC,” (Am. Compl. at ¶ 30), but this is yet another

false move. The Florida legislature provided that “[i]n applying and construing” the FCCPA,

“due consideration and great weight shall be given to the interpretations of the Federal Trade

Commission and the federal courts relating to the federal Fair Debt Collection Practices Act.”

Fla. Stat. § 559.77(5) (emphases added). In addition to not being a regulation, the FTC website

language is not an interpretation relating to the FDCPA. Far from great weight, as should have

been obvious to any reasonable attorney, it deserves zero weight here.

       The absence of any reasonable inquiry is further underscored by the fact that, even by its

own terms, the FTC’s definition of a “right to use” vacation interval option that constitutes

personal property does not apply here.       The FTC’s website guidance states that if “[y]ou

purchase the right to use an interval at the resort for a specific number of years – typically



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between 10 and 50 years,” then “[t]he interest you own is legally considered personal property.”

Id., Ex. 4. Plaintiff’s former timeshare interests, however, are not a “right to use” vacation

interval option, in large part because they are not “for a specific number of years.” Plaintiff did

not buy an “interval option.” She instead purchased a fee simple undivided interest in a building

in the Resort in perpetuity, as reflected in the deeded conveyance, and thus, as the same FTC

website states, it is “is legally considered real property.” Id. The Complaint utterly misstates the

webpage that it relies upon, highlighting the baselessness of Plaintiff’s theory.

         In an attempt to conceal the frivolous nature of this theory, the Complaint tries to

intentionally blur the lines between what Plaintiff owned – a deeded fee simply undivided

timeshare interest that is real property – and a “right to use” vacation interval option, which are

understood to have very different forms and indicia of ownership that are not confused for each

other.   See, e.g., Elizabeth A. Cameron and Salina Maxwell, Protecting Consumers: The

Contractual and Real Estate Issues Involving Timeshares, Quartershares, and Fractional

Ownerships, 37 Real Est. L.J. 278, 285-87 (2009) (discussing different forms of timeshares, such

as fee ownership, interval ownership, right-to-use arrangements, vacation licenses, vacation

leases, and club memberships). The Court should not tolerate such unreasonable and baseless

pleading. As the authors explain,

         [f]ee ownership, also known as a timeshare estate, results in the purchaser
         receiving an actual deed related to his or her degree of ownership in the
         timeshare. If the timeshare is divided into 52 equal owners, then a deed will be
         presented which outlines such ownership. . . . Further, fee ownership also
         requires that owners pay taxes on the property they jointly possess.

                                  *       *      *       *       *

         Right to use arrangements are different from both fee ownership and interval
         ownership in that ultimate ownership remains with the developer and not the
         timeshare owner. . . . [S]tandard legal obligations and fees, especially taxes and
         liabilities, are not transferred to the individual timeshare purchaser. These


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       arrangements include vacation licenses, vacation leases, and club memberships.

Id. at 285, 286.

       The difference in property taxes is an important distinction that Plaintiff’s “personal

property” theory cannot withstand and which should have led to its immediate rejection before

ever being filed. There is no question that Plaintiff’s timeshares were assessed real property

taxes. Plaintiff’s contract disclosed the “Estimated Ad Valorem Tax Assessments” and included

the disclosure that “[f]or the purpose of ad valorem assessment, taxation and special assessments,

the managing entity will be considered the taxpayer as your agent pursuant to section 192.037,

Florida Statutes.” Am. Compl., Ex. 3. Notably, these disclosures are required only for “real

property timeshare plans,” otherwise known as “timeshare estates.”              See Fla. Stat. §§

721.06(1)(d) & (h). It is implausible that Plaintiff, like the other owners at the Resort, paid real

property taxes assessed by Osceola County – which the County assessed for every single

“floating week” unit as “fee timeshare real property” pursuant to Fla. Stat. § 192.037 – for years

for something that she now claims was never real property. And it should not be tolerated for an

attorney to ignore the contradictory fact that real property taxes were assessed by the local

government when contending the timeshares are not real property, but personal property.

       Plaintiff’s and her attorney’s reliance upon some FTC website remarks, even if they were

on point, is also frivolous because under well-settled law, “state law controls in determining the

nature of the legal interest which the taxpayer had in the property . . . .” Morgan v. Comm'r of

Internal Revenue, 309 U.S. 78, 82 (1940). See also, e.g., Estate of Watts v. Comm'r, 823 F.2d

483, 485 (11th Cir. 1987) (explaining that because “state law determines precisely what property

is transferred,” court had to determine if “tax court correctly applied the state law principles

governing the definition of the property interest at issue”); Batterton v. United States, 287 F.



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Supp. 681, 683 (M.D. Fla.), aff'd, 406 F.2d 247 (5th Cir. 1968) (“It is well settled that the Court

must look to the law of Florida to determine what interest or right the surviving spouse . . .

received . . . .”). In other words, what the FTC thinks about what kind of property a deeded

timeshare interest with a “floating” use timeshare plan may be is legally irrelevant.

       Florida state law controls, and as discussed above, Florida law is clear on this question –

Plaintiff’s former “floating week” timeshares are each in fact “a parcel of real property under the

laws of this state.” Fla. Stat. § 721.05(34). The FTC website’s remarks are thus a red herring.

Therefore, even if the FTC’s remarks were correctly interpreted by Plaintiff, and even if they had

the force and effect of law, they would still be of no moment. That Plaintiff intentionally

misconstrued them and falsely claimed they were federal “regulations” only underscores the

frivolous nature of this claim. It was patently unreasonable for Plaintiff and her attorney to

assert any FDCPA or FCCPA claims based on the notion that her former timeshare interests are

“personal property” that could not have been foreclosed upon.          The Timesharing Act that

governs Plaintiff’s former timeshare interests expressly provides for foreclosure of mortgage

liens on timeshares. See Fla. Stat. § 721.856.

       Indeed, even the asserted foundation for the “personal property” theory – that “[u]nder

Section 721.16(6), Plaintiff’s personal property interest would not be able to be foreclosed upon

as real property,” (Am. Compl. at ¶ 73) – is obviously inapplicable. This is because Fla. Stat. §

721.16 applies only to liens for overdue assessments and for labor or materials. The trustee

foreclosure that Plaintiff challenges, however, was against the mortgage lien that Plaintiff

indisputably granted in the Deed, and was therefore done pursuant to an entirely separate

statutory provision, Section 721.856, and not Section 721.16. Even if Plaintiff is somehow

excused from knowing the difference between a mortgage lien and a lien for overdue



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assessments, labor, or materials, her attorney cannot be excused from basing his “personal

property” theory on an obviously false and flimsy foundation. The theory comes crashing down

upon the slightest scrutiny, and should never have been put in a filing.

       There is thus no well-founded, good faith legal or factual basis for Plaintiff’s “personal

property” theory at any step of the inquiry. A reasonable attorney would have noticed all those

insurmountable obstacles and realized there is no valid argument. Plaintiff’s attorney, on the

other hand, imagined support by mischaracterizing some inapposite remarks by the FTC and

ignoring the provisions of the Timesharing Act. The “personal property” theory that underlies

Plaintiff’s claims is built on a frivolous foundation (that is precluded by Plaintiff’s own Deed). It

is hard to understand how an attorney could proceed to base a theory that a property interest is

personal property because of language appearing in a Declaration when that same Declaration

states that each owner was to own in the form of a fee simple interest, that is, real property. The

Declaration provides that purchasers of timeshare interests at Plaintiff’s former timeshare resort

are to be “convey[ed] . . . by Warranty Deed the ownership in fee simple of an undivided interest

in a building in the Resort Facility as a tenant in common with other Owners which interest shall

constitute said Owner’s Time Share Interest.” Ex. C at Art. II(C)(1). The Declaration further

provides that “[a] Unit Week is committed to the Floating Use Plan,” the use and occupancy

attribute that Plaintiff frivolously contends renders the timeshare personal property, only “upon

the conveyance of the Unit Week as evidenced by the recording of a deed in the Public Records

of Osceola County, Florida indicating that the Developer is conveying that Unit Week to the

purchaser as a Floating Unit Week.” Id. at Art. II(C)(2)(A)(b).

       Thus, Plaintiff’s theory requires the Court to accept that a deeded fee simple undivided

tenancy in common interest in real property, upon being recorded and being made subject to the



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Declaration’s Floating Use Plan, is somehow magically converted into personal property. No

one told Osceola County, which continued to assess real property taxes every year. And,

according to Plaintiff’s theory, her deed’s provisions wherein she granted a lien that could be

enforced by foreclosure simply vanish into thin air!       Not only that, but apparently if the

Declaration is cancelled, the “floating use” units would presumably transform back to real

property under Plaintiff’s theory. This argument is patently frivolous and not supported by the

law in any form in the hundreds of years of the development of property law or by anything that

could be considered a reasonable extension of that law. Plaintiff and her attorney should be

sanctioned for requiring GM to have to deal with this nonsense and seemingly retaliatory

harassment following Plaintiff’s undisputed default in the amount of over $12,000 on her

mortgage obligations and the entirely valid foreclosure on her timeshares.

III.   PLAINTIFF’S ASSERTION OF FDCPA AND FCCPA CLAIMS REGARDING
       THE TRUSTEE FORECLOSURE PROCEEDINGS IS ALSO FRIVOLOUS

       Originally, Plaintiff asserted FDCPA and FCCPA claims based on the speculative use by

GM of a lost note affidavit in the trustee foreclosure of Plaintiffs’ timeshares. See Dkt. No. 1 at

¶¶ 42-44. While Plaintiff no longer asserts that speculative claim, she now goes after something

that did occur: GM’s compliance with the requirements in the Timesharing Act for a trustee

foreclosure, namely the mailing to her and publication of her outstanding (accelerated) balance

on her mortgage and her right to cure. See Am. Compl. at ¶¶ 87, 104-109, 111, 117(a), (b), (d).

Plaintiff and her attorney continue to disregard that such nonjudicial foreclosure conduct

required by the Timesharing Act does not fall within the scope of the FDCPA or FCCPA. Far

from being ignorant of this case law, they advance a brazen, unprecedented, and wildly frivolous

end-around to this bar against their claims: have the Court declare Florida’s statutory nonjudicial

trustee foreclosure procedure preempted by the FDCPA, so that mandatory compliance with the


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former would be a violation of the latter. But there is simply no conflict or disharmony between

the FDCPA and foreclosure proceedings.

       The Amended Complaint alleges FDPCA and FCCPA violations based on the Notice of

Trustee’s Sale that GM was required to send to Plaintiff and publicize in a newspaper under the

trustee foreclosure provisions of the Timesharing Act. See Am. Compl. at ¶ 87, 104-109. While

the Amended Complaint all but declares war against those provisions of the Timesharing Act as

supposedly in conflict with the FDCPA and FCCPA, (see id. at ¶ 88-92), the Eleventh Circuit

has ruled that a foreclosure proceeding to enforce a security interest, without any demand for

payment, generally is not covered by the FDCPA or FCCPA. There is no conflict.

       As the trustee foreclosure process was conducted solely to enforce a security interest,

namely the lien Plaintiff granted in the Deed, nothing in that process could constitute “debt

collection” that would place it within the general purview of the FDCPA or FCCPA. The

Eleventh Circuit has held that, with the exception of 15 U.S.C. § 1692f(6), “enforcement of a

security interest through the foreclosure process is not debt collection for purposes of the Act

[the FDCPA].” Warren v. Countrywide Home Loans, Inc., 342 F. App’x 458, 460 (11th Cir.

2009). See also Ausar-El ex rel. Small, Jr. v. BAC (Bank of America) Home Loans Servicing LP,

448 F. App’x 1, 1-2 (11th Cir. 2011) (holding that “an enforcer of a security interest only

qualifies as a ‘debt collector’ for the purpose of § 1692f(6)”). Accordingly, “a communication

made by . . . a party in a foreclosure action or its counsel regarding the foreclosure action is not a

‘communication’ under 15 U.S.C. § 1692c(b),” or otherwise for purposes of the FDPCA. Acosta

v. Campbell, 309 F. App’x 315, 320 (11th Cir. 2009).

       GM did not seek the collection or payment of any debt in the trustee foreclosure process.

This means that nothing GM stated or did in the trustee foreclosure could provide the basis for an



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FDPCA claim, with the one exception of § 1692f(6). Decisions to this effect are legion.3 And

the same reasoning has been applied to the meaning of “collecting consumer debts” for purposes

of the FCCPA, (Fla. Stat. § 559.72), particularly given its direction that in its application, “great

weight shall be given to the interpretations of . . . the federal courts relating to the [FDCPA].”

Id. at § 559.77(5). See also Bloch v. Wells Fargo Home Mortg., No. 11-80434-CIV, 2012 WL

12862806, *5 (S.D. Fla. June 13, 2012) (“[F]oreclosing on a mortgage is not considered a debt

collection practice under the FDCPA or the FCCPA.”); Cowan v. MTGLQ Inv'rs, L.P., No. 2:09-

CV-472-FTM-29, 2011 WL 2462044, *3 (M.D. Fla. June 17, 2011) (“[F]oreclosing on a home is

not debt collection pursuant to the FDCPA and thus, one cannot state a claim under the FDCPA

or FCCPA based on a foreclosure action.”); Trent v. Mortg. Elec. Registration Sys., Inc., 618 F.

Supp. 2d 1356, 1361 (M.D. Fla. 2007) (“[F]iling a foreclosure lawsuit is not a debt collection

practice under § 559.72 of the FCCPA.”), aff'd, 288 F. App’x 571 (11th Cir. 2008).

        Because a demand for payment or collection of debt is required to make a communication

related to a foreclosure subject to the FDCPA and FCCPA, Plaintiff now alleges that the Notice

of Trustee’s Sale that GM sent Plaintiff “demanded payment when it gave Plaintiff an

opportunity to cure the default by paying an amount of $35,462.22.” Am. Compl. at ¶ 77. This,

too, is a frivolous assertion. The Eleventh Circuit and numerous district courts have held that a

notice of foreclosure that merely states the obligor has a right to cure and the cure amount,

3
  See, e.g., Dunavant v. Sirote & Permutt, P.C., 603 F. App’x 737, 740 (11th Cir. 2015) (affirming
dismissal of FDCPA claim because “publishing foreclosure notices amounted only to the enforcement of
a security interest and not the collection of a debt”); Hampton-Muhamed v. James B. Nutter & Co., No.
8:15-CV-608-T-27TGW, 2015 WL 7300517, *3 (M.D. Fla. Nov. 18, 2015) (“[F]oreclosing on a security
interest, such as foreclosing on a mortgage of real property, without more, is not debt collection activity
within the meaning of the FDCPA.”); Dyer v. Choice Legal Grp. P.A., No. 5:15-CV-69-OC-30PRL, 2015
WL 3650925, *3 (M.D. Fla. June 11, 2015) (“The initiation and prosecution of a mortgage foreclosure
action, standing alone, does not constitute debt collection under the FDCPA.”); Gillis v. Deutsche Bank
Trust Co. Americas, No. 2:14-CV-418-FTM-38, 2015 WL 1345309, *3 (M.D. Fla. Mar. 23, 2015)
(“Plaintiff cannot assert violations of the FDCPA predicated upon only Defendants’ actions in the state-
court foreclosure proceedings.”).

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especially when such disclosures are required by statute, cannot constitute a demand for

payment or debt collection activity.4 The Timesharing Act required GM, as the Trustee, to send

to Plaintiff and to otherwise publicize the Notice of Trustee’s Sale and state her right to cure and

the cure amount, (see Fla. Stat. § 721.856(6)), and therefore those statements cannot be deemed a

demand for payment or collection of debt.

        Plaintiff either was oblivious to the above-cited case law or elected to ignore it in

advancing this aspect of her FDCPA and FCCPA claims, neither of which is consistent with the

requisite reasonable inquiry.      Plaintiff instead relies upon a twenty-year old, out-of-Circuit

decision, Romea v. Heiberger & Associates, 163 F.3d 111 (2d Cir. 1998). See Am. Compl. at ¶

92. But even if there were a dearth of case law in this Circuit that might make her resort to

Romea valid, (which Plaintiff’s attorney should have been able to determine is not the case), that

decision has no utility here. Romea concerned a law firm’s rent demand notice that it sent to a

tenant on behalf of a firm client as required by state law prior to commencement of an eviction

proceeding. There was therefore a demand for payment, and no enforcement of a security

interest.   Moreover, as one district court within the Second Circuit that found Romea

“inapposite” and “not controlling” under facts similar to those here explained,

4
  See Saint Vil v. Perimeter Mortg. Funding Corp., 630 F. App’x 928, 931 (11th Cir. 2015) (ruling notices
of sale in foreclosure proceeding were not related to debt collection where they “did not demand payment
of any underlying debt,” but “ simply provided notice of the foreclosure, as required by Georgia law”);
Summerlin v. Shellpoint Mortg. Servs., 165 F. Supp. 3d 1099, 1104-05 (N.D. Ala. 2016) (holding
“foreclosure notice setting forth the total amount owed on the debt but also providing contact information
for Plaintiff to discuss alternatives to foreclosure” did not qualify as demand for payment because
“‘[s]ending just the statutorily required notice of foreclosure is not enough’ to be considered debt
collection”) (quoting Saint Vil, 630 F. App’x at 932); Littlejohn v. Citimortgage Inc., No. 3:15-CV-194-J-
34JRK, 2016 WL 1638237, *5 (M.D. Fla. Feb. 3, 2016), report and recommendation adopted, 2016 WL
1627076 (M.D. Fla. Apr. 25, 2016) (“Merely stating that an underlying debt is ‘due and owing,’ in
connection with a foreclosure action, does not constitute debt collection activity.”); Taylor v. Johnson &
Freedman, LLC, No. 1:09-CV-0485-CAM-JFK, 2009 WL 10693519, *10 (N.D. Ga. Aug. 4, 2009)
(dismissing FDCPA claim because notice of foreclosure sale did “not contain a demand or request that
plaintiff make any payment to reinstate the loan,” but “simply provide[d] notice consistent with Plaintiff's
statutory right to cure her default and reinstate the loan and is a necessary part of the nonjudicial
foreclosure process”).

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         in contrast to Romea, where the communications occurred prior to summary
         eviction proceedings, Defendants here responded to Plaintiffs' requests during the
         pendency of foreclosure proceedings. . . . Far from a communication intending to
         induce Plaintiffs to pay the underlying obligations, the payoff quotes transmitted
         by JER Defendants were sent to provide Plaintiffs with information necessary to
         facilitate Plaintiffs’ desire to discontinue the foreclosure actions. . . . [I]n Romea,
         the Second Circuit did not purport to rule on whether a lien foreclosure, as
         opposed to an eviction proceeding, constituted the enforcement of a security
         interest or whether payoff letters sent to resolve a foreclosure process constituted
         debt collection activities.

Boyd v. J.E. Robert Co., No. 05-CV-2455 KAM RER, 2012 WL 4718723, *18 (E.D.N.Y. Oct. 2,

2012).

         The court in Boyd ultimately dismissed the FDCPA claims “because the judicial

foreclosures against [plaintiffs] did not seek monetary judgments against individual debtors,

those foreclosure actions . . . are not debt collection activities under . . . the FDCPA.” Id. at *20.

This is the exact same conclusion that should have been obvious to Plaintiff’s attorney given the

Eleventh Circuit’s rulings that enforcement of a security interest, including the sending of a

notice of foreclosure required by statute, as a matter of law cannot constitute a demand for

payment or debt collection activity. The supposed conflict that Plaintiff advances does not exist

as a settled matter of law. The assertion of FDCPA and FCCPA claims based on this conduct,

particularly when accompanied with an open declaration of preemption of the Timesharing Act’s

nonjudicial foreclosure process, is therefore frivolous.

                                           CONCLUSION

         Plaintiff’s Complaint is plainly frivolous and rests on a legally and factually baseless

foundation. It might be understandable had a pro se litigant asserted such wild and speculative

claims that aim to take a legal wrecking ball to the Florida Timesharing Act, and render real

property personal property and effectively make unlawful the trustee foreclosure process, but

that excuse does not apply here. GM should never have had to deal with the frivolous Complaint


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that seems to have been filed by Plaintiff and her attorney in retaliation and to harass GM for its

involvement in the valid foreclosure of Plaintiff’s timeshares for her undisputed default on her

mortgage. And the Court should not tolerate such a frivolous filing.

       For the foregoing reasons, Defendant Greenspoon Marder LLP respectfully requests that

the Court, pursuant to Federal Rule of Civil Procedure 11(b) and the Court’s inherent power, for

enter an order imposing sanctions against Plaintiff and her attorneys in the form of (a) payment

of a penalty into Court; (b) payment to GM in the amount of the undersigned attorneys’ fees and

expenses incurred as a result of this action, including those incurred in connection with the

instant Motion; and (c) any other form of relief the Court deems appropriate.

                          LOCAL RULE 3.01(g) CERTIFICATION

       Undersigned counsel certifies that he has conferred with Brian P. Parker, counsel for

Plaintiff, regarding this Motion, most recently on February 8, 2019, and Plaintiff opposes the

Motion and the relief sought herein.

Dated: February 8, 2019                      GREENSPOON MARDER LLP


                                             By: __/s/ Roy Taub____________
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, in compliance with Federal Rule of Civil Procedure 11(c)(2),

a true and correct copy of the foregoing was served on January 17, 2019 by email and by FedEx

overnight delivery upon the following:


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       I HEREBY FURTHER CERTIFY that a true and correct copy of the foregoing was

served on all counsel of record via ECF on February 8, 2019.


                                                   __/s/ Roy Taub____________
                                                            ROY TAUB




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